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  Message
  From:          Tom Turvey [turvey@google.com]
  Sent:          8/29/2013 12:37:54 PM
  To:            Jamie Rosenberg Liamiero@google.com]
  Subject:       AMZN review
  Attachments:   AMZN Review - Devices and Content.pptx


  just seeing that BizOps deck I mentioned yesterday...attached... for my stuff, their numbers seem generally
  right...their conclusions seem okay, nothing earth-shattering.. .

  btw, the 2M ebook number for AMZN has a ton ofvanity press crap in it (self-published) where they make no
  money, and also counts PD... our I.3M is paid-for content only from actual publishers (as opposed to my mom,
  who thinks she's a poet) .. .ifwe counted PD, we'd be at over 4M



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